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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
 PETER P. STRZOK,                                   )
                                                    )
                Plaintiff,                          )
                                                    )      Civil Action No. 19-2367 (ABJ)
        v.                                          )
                                                    )
 ATTORNEY GENERAL MERRICK B.                        )
 GARLAND, in his official capacity, et al.,         )
                                                    )
                Defendants.                         )
                                                    )
                                                    )


                 CONSENT MOTION TO EXTEND FILING DEADLINES

       Defendants respectfully submit this motion to extend the current filing deadlines set by the

Court in its August 1, 2024 Minute Order to give Defendants two additional business days to file

their combined reply in support of their motion for summary judgment and opposition to Plaintiff’s

cross-motion for summary judgment, moving their filing deadline from November 21, 2024 to

November 25, 2024. Defendants further request that Plaintiffs receive a concomitant extension to

file their reply in support of their cross-motion for summary judgment, from December 12, 2024

to December 16, 2024. Good cause exists for this extension because of a Division-wide system

outage that prevented counsel for Defendant’s access to necessary network files over the weekend

of November 16-17, 2024. Undersigned counsel has conferred with counsel for the Plaintiff, who

does not oppose this request.



Dated: November 18, 2024                      Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General
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                                    CHRISTOPHER R. HALL
                                    Assistant Branch Director

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